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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                           EASTERN DISTRICT OF VIRGINIA
                                                                                   I CLERIC, U.S. DISTRICT COUfif
                                                                                   ^ *^ AL^NDRIA.VIRGINIA
                                    Alexandria Division



 UNITED STATES OF AMERICA                          No. l:19-CR-253-2


                                                   The Honorable T.S. Ellis, III

 DARRYL JULIUS POLO,
                a/k/a djppimp,

                       Defendant.


                                          ORDER


        Before the Court is the Government's Motion to Dismiss Counts Seven, Nine, Ten,

Seventeen, Eighteen, and Nineteen of the Indictment. The Motion is hereby GRANTED.

        It is therefore ORDERED that Counts Seven, Nine, Ten, Seventeen, Eighteen, and

Nineteen of the Indictment in this case are DISMISSED without prejudice.




Date:
        Alexandri                                 The Hono
                                                  UNITED ST        S DISTRICT JUDGE
